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1    GORDON H. DEPAOLI,
     Nevada State Bar No. 00195
 2   DALE E. FERGUSON
     Nevada State Bar No. 04986
 3
     DOMENICO R. DePAOLI
 4   Nevada State Bar No. 11553
     WOODBURN AND WEDGE
 5   6100 Neil Road, Suite 500
     Reno, Nevada 89511
 6   Telephone: 775-688-3000
     Email: gdepaoli@woodburnandwedge.com
 7

 8   Attorneys for Walker River Irrigation District

 9
                           IN THE UNITED STATES DISTRICT COURT
10                              FOR THE DISTRICT OF NEVADA
11

12     UNITED STATES OF AMERICA,         )                3:73-cv-00127-MMD-CSD
                                         )
13            Plaintiff,                 )
                                         )                STIPULATION AND ORDER
14     WALKER RIVER PAIUTE TRIBE,        )                STAYING THE ORDER
15                                       )                REGARDING DISCOVERY AND
              Plaintiff-Intervenor,      )                MOTION SCHEDULE
16                                       )
                      v.                 )
17                                       )
       WALKER RIVER IRRIGATION DISTRICT, )
18     a corporation, et al.,            )
19                                       )
              Defendants.                )
20                                       )

21
            1.      On March 16, 2020, the Court entered the Order Regarding Discovery and Motion
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     Schedule and Procedure (the “Scheduling Order”). ECF No. 2611. The Scheduling Order was
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     amended by stipulation on December 28, 2020 due to circumstances related to the COVID-19
24
     Pandemic. See ECF No. 2648. The Scheduling Order was amended again by stipulation on
25
     September 15, 2021 due to the same ongoing Pandemic-related circumstances. See ECF No. 2676.
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     As amended, the existing schedule by which the parties are engaged in litigation activities is
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     ongoing with some deadlines established and imminent and some deadlines still indefinite.
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1           2.      The Scheduling Order contemplates at paragraphs 14 and 16 that the Plaintiffs and

 2   Principal Defendants (the “Parties”) may ask the Court for relief from the deadlines and

 3   obligations contemplated under the Scheduling Order.
 4          3.      The Parties believe that current, unique circumstances exist that justify a 90-day
 5   stay of the deadlines and obligations contemplated under the Scheduling Order.
 6          4.      Beginning in late 2021, undersigned counsel for the Walker River Irrigation
 7   District, (the “District”), the United States and the Walker River Paiute Tribe have actively
 8   engaged in substantive discussions centered on resolving the outstanding water right claims of the
 9   Walker River Paiute Tribe (the “Tribe”) by settlement and agreement among them.
10          5.      In order to confirm that resolution of the Tribe’s outstanding water right claims
11   might be possible, the District, the United States and the Tribe have engaged in discussions
12   concerning the parameters of a possible settlement with their decision-makers.
13          6.      In addition to discussions with its decision-makers, counsel for the District engaged
14   in discussions concerning the parameters of a possible settlement with representatives of the
15   Nevada Division of Water Resources and the Nevada Department of Wildlife and those
16   representatives have also held internal discussions on the parameters of a possible settlement.
17          7.      Those meetings and discussions have resulted in the development of a
18   comprehensive list of principles that would both resolve the Tribe’s water right claims and the
19   challenges to those claims.
20          8.      Undersigned counsel for the United States, Tribe, District and Nevada Department
21   of Wildlife met most recently on June 16, 2022 and have agreed (among counsel and in principle)
22   to the broader parameters of settlement and agreement that could likely be the basis for resolving
23   the Tribe’s outstanding water right claims. Undersigned counsel have agreed to further develop
24   these principles into a final settlement and agreement that they will present to their respective
25   clients/government superiors for approval.
26          9.      The Parties believe that after many years of active litigation, resolution of the
27   Tribe’s outstanding water right claims is real and possible. With one limited exception, the Parties
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1    believe, rather than engaging in active, expensive litigation activities, that their collective efforts

 2   and resources are better spent at this time focused exclusively on accomplishing resolution of the

 3   Tribe’s outstanding water right claims through settlement and agreement. The limited exception
 4   relates to the continuation of the work of the District’s Historical expert which work has been
 5   delayed by closure and/or limited access to Archive/Records Offices. Rather than stopping that
 6   work now, and then requiring it to start again, if the settlement efforts are ultimately unsuccessful,
 7   the District believes that it will be more efficient to continue that work while these settlement
 8   discussions continue, at least during the initial 90 day stay period described below. This exception
 9   can be reviewed at that time.
10          10.     For these reasons, the Parties jointly request that the Court stay the remaining
11   deadlines of its Scheduling Order for 90 days. During that time, the Parties will work to draft
12   necessary documents and secure necessary settlement approval. Within seven (7) days before the
13   expiration of the stay, the Parties will either: a) inform the Court that documents supporting a
14   settlement will be presented to the Court within the 90-day stay period; b) seek an extension to the
15   stay and detail the remaining tasks needed to secure settlement approval; or c) inform the Court
16   that efforts to resolve the Tribe’s outstanding water right claims by settlement have failed. In the
17   event settlement fails, the Parties will present a joint schedule that resumes the schedule already
18   developed to litigate this matter to conclusion as needed.
19          11.     The Parties to this action include the federal government, the Walker River Paiute
20   Tribe, Nevada and California entities, and a very large irrigation district. Securing final party
21   approval for these entities to enter into any settlement will require extensive internal consultation
22   and the approval of numerous individuals. Though this process will likely take some time to
23   complete, undersigned counsel will make every effort to advance this effort as quickly as possible
24   and believe that the 90-day stay being sought herein will be sufficient to advance this matter
25   toward a final resolution. Moving forward, unless otherwise ordered by the Court, the Parties will
26   seek only 90-day stays, as needed, to accomplish settlement. The Parties are, therefore, seeking a
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1    90-day stay of the deadlines and obligations contemplated under the Scheduling Order in good

 2   faith and not for any dilatory purpose.

 3                  NOW, THEREFORE, pursuant to paragraphs 14 and 16 of the Scheduling Order,
 4   the parties hereby stipulate and agree as follows:
 5           1.     The Scheduling Order and obligations outlined therein should be stayed for 90 days
 6   to give the Parties the opportunity to resolve the Tribe’s outstanding water right claims by
 7   agreement.
 8           2.     Within seven (7) days before the expiration of any stay granted the Parties will
 9   inform the Court either that additional time is needed to achieve a settlement agreement or that
10   settlement will not be possible. In either case, the Parties will seek additional relief from the Court
11   accordingly as needed and as contemplated by paragraphs 14 and 16 of the Scheduling Order.
12           Dated: June 23, 2022.
13     WOODBURN AND WEDGE                                  U.S. DEPARTMENT OF JUSTICE
14
       By:     / s / Gordon H. DePaoli
15             Gordon H. DePaoli                           By:    / s / Guss Guarino
               Nevada Bar No. 195                                 (per authorization)
16     6100 Neil Road, Suite 500                                  Guss Guarino, Trial Attorney
       Reno, Nevada 89511                                         Tyler J. Eastman, Trial Attorney
17     Attorneys for Walker River Irrigation                      Marisa J. Hazell, Trial Attorney
18     District                                            Environment and Natural Resources Div.
                                                           999 18th Street, Suite 370
19                                                         Denver, Colorado 80202
       LAW OFFICES OF WES WILLIAMS, JR.,
20     P.C.                                                David L. Negri
                                                           Trial Attorney, Natural Resources Section
21
       By:    / s / Wes Williams, Jr.                      c/o U.S. Attorney’s Office
22            (per authorization)                          800 Park Boulevard, Suite 600
              Wes Williams, Jr., NSB 6864                  Boise, Idaho 83712
23     3119 Lake Pasture Rd.                               Attorneys for United States of America
       P.O. Box 100
24     Schurz, Nevada 89427
25
       MEYER, WALKER & WALKER, P.C.                        BEST BEST & KRIEGER
26
       By:    / s / Alice E. Walker                        By:    / s / Roderick E. Walston
27            (per authorization)                                 (per authorization)
              Alice E. Walker                                     Roderick E. Walston
28
                                                       4
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1     1007 Pearl Street, Suite 220                      2001 N. Main Street, Suite 390
      Boulder, Colorado 80302                           Walnut Creek, California 94596
 2    Attorneys for Walker River Paiute Tribe           Attorney for Centennial Livestock and Lyon
                                                        County
 3

 4    OFFICE OF THE ATTORNEY GENERAL                    Jerry Snyder, NSB 6830
      OF CALIFORNIA                                     429 W. Plumb Lane
 5                                                      Reno, Nevada 89509
      By:    / s / Nhu Q. Nguyen                        Attorney for Lyon County
 6           (per authorization)
             Nhu Q. Nguyen, NSB 7844                    THE COUNTY OF MONO (CA)
 7
      1300 I Street, Suite 125
 8    P.O. Box 944255
      Sacramento, California 94244-2550                 By:    / s / Stacey Simon
 9    Attorneys for California State Agencies                  (per authorization)
                                                               Stacey Simon, County Counsel
10                                                             Emily Fox, Dep. County Counsel
11                                                      P.O. Box 2415A
      STATE OF NEVADA OFFICE OF THE                     Mammoth Lakes, California 93546-2415
12    ATTORNEY GENERAL                                  Attorneys for Mono County

13    By:    / s / Anthony J. Walsh
             (per authorization)                        SIMONS HALL JOHNSTON PC
14           Anthony J. Walsh, NSB 14128
15    Deputy Attorney General                           By:    / s / Brad M. Johnston
      100 N. Carson Street                                     (per authorization)
16    Carson City, Nevada 89701-4717                           Brad M. Johnston, NSB 8515
      Attorneys for Nevada Department of Wildlife       22 State Route 208
17                                                      Yerington, Nevada 89447
                                                        Attorneys for Desert Pearl Farms, Peri
18                                                      Family Ranch, LLC, Peri & Peri LLC, and
19                                                      Frade Ranches

20
                                                ORDER
21
            June 24
     Dated: _____________, 2022.         IT IS SO ORDERED.
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                                                _______________________________
24                                              United States Magistrate Judge

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